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EXHIBIT 1
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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MICHIGAN
SOUTHERN DIVISION

JUSTIN GUY, individually and on behalf
of those similarly situated,

Case No. 2:20-cv-12734-MAG-EAS
Plaintiff,

Vv. Hon. Mark A. Goldsmith

ABSOPURE WATER COMPANY, LLC
a domestic limited liability company,

Defendant.

DEFENDANT ABSOPURE WATER COMPANY, LLC’S
STATEMENTS OF RELEVANT FACTS

Defendant Absopure Water Company, LLC (“Defendant” or ““Absopure”)
provides these statements of relevant facts (“Statements”) pursuant to the Court’s
May 19, 2023 Order Regarding Discovery (Dkt. 114) (“Order”). As per the Order,
these Statements assert facts that are relevant to the interrogatories served by
Defendant on each of the 26 Opt-In Plaintiffs (who, together with original Plaintiff
Justin Guy, “Plaintiffs”) on May 1, 2023 and then limited in response to the
Court’s direction. (See Defendant’s May 5, 2023 Memorandum in Support of
Discovery Requests, pp. 2-4 (Dkt. No. 107)). For the sake of clarity, Defendant
has separately numbered each of the Statements since they do not necessarily line

up one-on-one with Defendant’s interrogatories.
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These Statements are made based on information and writings currently
available to, located by, and understood by Defendant upon reasonable
investigation. However, given that 1) some information was lost by Defendant in a
ransomware attack and Defendant does not yet know whether any or all of that
data will be recoverable, 2) the scope of what may constitute “relevant” facts may
change based on Plaintiffs’ required statements on June 2, and June 9, 2023 (See
Order, 1 3) and other subsequent discovery in this matter, Defendant expressly
reserves the right to modify, revise, supplement, or amended these Statements as it

deems appropriate.

STATEMENTS OF RELEVANT FACTS
DEFENDANT’S INTERROGATORY NOS, 1 AND 3

1. Identify the job titles or positions You held as part of Your
employment with Absopure during the Relevant Time Period,
including the dates You held such job titles or positions.

3. Identify the date(s) You received a commercial driver's license
(“CDL”), if any, and the dates that any such CDLs expired, if any
have.

DEFENDANT’S STATEMENTS OF FACT

Statement No.1. The Plaintiffs in this case have been employed by

Defendant in only one or both of two positions: Sales and Service Specialist (“Sales
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Specialist”) and “Sales and Service Specialist Trainee” (“Sales Specialist Trainee,”
and, together with Sale Specialists, “Specialists”).

Statement No. 2. All Specialists begin their employment with Defendant

as Sales Specialist Trainees. Once a Sales Specialist Trainee has a) obtained their
commercial driver's license (“CDL”), and b) has been assigned a regular route, he or
she then becomes a Sales Specialist. Not all Sales Specialist Trainees stay employed
by Defendant long enough to become Sales Specialists.

Statement No.3. Below is a list of the positions held by Plaintiffs
beginning October 8, 2017 and the dates those positions where held and information

regarding each Plaintiff's CDL. Further, attached as Exhibit A is a list of the bates

number ranges with Plaintiffs’ driving records that provide CDL information.

CE ESE | Position Position | CDL
> Plaintiff . | Position(s) | Start Date | End Date | Received
(earlier)
8/10/2015
Aniol, John Sales Specialist 1/10/2000 | 3/29/2022 | 10/2/2018
Sales Specialist
Armstead, Aaron Trainee 5/14/2018 | 9/21/2018 none
Sales Specialist
Armstead, Dwane Trainee 6/11/2018 | 10/4/2018 4/5/2016
Sales Specialist
Banks, Erick Trainee 4/23/2018 | 8/31/2018 none
Sales Specialist
Belonga, Lucas Trainee 5/2/2022 | _ 1/29/2023 | 1/30/2023
Sales Specialist 1/30/2023 current
Brown, Keith Sales Specialist 12/4/2006 7/1/2020 | 12/4/2006

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Sales Specialist Prior to

Childs, Dannielle Trainee 12/5/2019 current hiring
Sales Specialist

Clendennin, Ryan Trainee 7/25/2017 7/6/2018 none
Sales Specialist Prior to

Fish, Caleb Trainee 4/30/2018 current hiring
Sales Specialist

Justin Guy Trainee 9/24/2018 2/4/2020 none
Sales Specialist

Householder, Boaz | Trainee 3/7/2022 | 4/22/2022 none
Sales Specialist

Jacek, Shawn Trainee 10/15/2018 | 11/27/2018 none
Sales Specialist

Jackson, Matthew _| Trainee 11/19/2018 2/8/2019 none
Sales Specialist

Johnson, Gary Trainee 1/31/2022 | 11/14/2022 | 11/15/2022
Sales Specialist | 11/15/2022 current
Sales Specialist

Lammer, Ricardo Trainee 4/8/2019 | 8/11/2019
Sales Specialist 8/12/2019 | 10/3/2019 | 8/12/2019
Sales Specialist

Newkirk, Antony Trainee 12/20/2021 | 6/22/2022 none
Sales Specialist

Okimoto, Paul Trainee 9/13/2021 current none
Sales Specialist Prior to

Pemberton, Terry Trainee 2/21/2022 | 6/24/2022 hiring
Sales Specialist

Perry, Charles Trainee 7/11/2016 | 10/5/2018 none
Sales Specialist

Phipps, Kevin Trainee 9/11/2017 | 8/16/2021 none
Sales Specialist

Redmer, Nathan Trainee 5/23/2022 | 11/3/2022 none
Sales Specialist

Rhodes, Ryan Trainee 6/20/2022 | current none
Sales Specialist

Skonieczny, Jesse Trainee 9/6/2022 | current none
Sales Specialist

Sujkowski, David Trainee 2/1/2021 | 3/10/2022 none

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Sales Specialist

Tampa, Jordan Trainee 8/26/2019 1/4/2022 none
Sales Specialist

Winconek, Kyle Trainee 1/25/2021 | 3/27/2022
Sales Specialist 3/28/2022 | 7/6/2022 | 3/28/2022
Sales Specialist

Woldt, George Trainee 12/19/2022 2/2/2023 none

DEFENDANT’S INTERROGATORYIES NOS. 2,7 AND 8

2.

Identify and describe the job duties and activities for each position
You held as part of Your employment with Absopure during the
Relevant Time Period.

Identify each day that You were employed by Absopure during the
Relevant Time Period that you performed job duties prior to clocking
in by placing Your employee badge next to the time clock and getting
a Signal from it at the Absopure facility out of which you worked and
describe all such job duties that you performed, the amount of time it
took you to perform those duties, and the circumstances that led You
to performing those job duties prior to clocking in.

Describe the job duties You performed while employed by Absopure
during the Relevant Time Period a) prior to checking out your truck
by confirming the inventory on the truck with the hand-held device
before making deliveries , and b) after checking in Your truck on the
hand-held device after making deliveries and returning to Absopure’s
facility, including describing the amount of time it took You to
perform each set of such job duties, and including, if applicable,
describing the typical job duties you performed and amount of time it
took and identifying any substantially greater or lesser number of
duties and longer or shorter times it took and the circumstances of and
number of occurrences of such longer or shorter times.
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DEFENDANT’S STATEMENTS OF FACT

Statement No. 4. All Specialists have the same job responsibilities and
engage in the same job activities. The manner and degree in which each Specialist
carries out these responsibilities and activities can vary depending on the experience
and dedication of the Specialist.

Statement No.5. Both Defendant’s Plymouth and Grand Rapids locations
have a time clock near the entrance doors used by the Specialists, who pass by this
clock on their way to their other job activities. The purpose of the time clock is to
confirm each Specialist’s attendance on the job for that day. Specialists confirm
their attendance by placing their employee identification badges next to the clock,
which electronically registers the time that this occurs.

Statement No.6. The majority of Specialists, the majority of time, clock in
in immediately upon entering the facility.

Statement No.7. After entering the building, and usually immediately

after clocking in, the Specialist walks over to the place where the handheld devices
are kept in charging stations and takes the one that he or she will use for the day.
Statement No.8. The handheld devices are used to keep track of the

inventory of items on a Specialist’s vehicle and to record sales or rentals of items.
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Statement No.9. After obtaining the hand-held device, the Specialist
checks his or her mailbox for paperwork, some of which might be related to his route
for that day.

Statement No.10. After obtaining the handheld and checking his mailbox,
the Specialist will walk to the warehouse to get the vehicle he will use for the day.
The warehouse at the Plymouth facility is behind the front office while the
warehouse at the Grand Rapids facility is right outside the front office door. The
vehicle in the warehouse will have been loaded the night before by warehouse
personnel with an inventory of items that had been specified by the Specialist at the
end of the previous working day.

Statement No. 11. The items on the vehicles loaded by the warehouse staff

will include products to be sold, or potentially sold, to customers that day on the
Specialists’ routes. Any equipment, such as water coolers or coffee makers, will be
loaded by the Specialists.

Statement No. 12. Of the products loaded onto vehicles, the large majority
have not been pre-ordered, but are what the Specialists’ estimate customers will
order on the routes. For example, of the 156,503 orders created between January 1,
and April 30, 2023, 17,886 of them were pre-orders, or about 11.4% orders, and the

remainder were created on the routes, about 88.6%.
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Statement No. 13. At the Plymouth facility, from the warehouse, the

Specialist will then drive the vehicle to the street outside of the main office and park

along the curb.

Statement No. 14. After parking the vehicle in front at Plymouth, the
Specialist will then go back into the office to obtain coffee items, either coffee bags

or K-cups, and place them on the vehicle, if those items are part of the planned

inventory for his route.

Statement No. 15. The Specialist will then go get a manager and the

Specialist and manager will perform a pre-trip safety inspection of the vehicle at
front in Plymouth or in or by the warehouse at Grand Rapids.

Statement No. 16. After the safety inspection, the Specialist and manager
will count together the inventory items on the vehicle. As this count is conducted,
the Specialist will enter the number of each type of product and equipment into the
handheld device.

Statement No.17. Once the count is completed and the Specialist and

manager agree on the inventory numbers, the Specialists will “check out” the vehicle
using the handheld device. The time for the “check out” is recorded by the handheld
device.

Statement No. 18. The series of job-related activities from entering the

building to checking out the vehicle typically takes between 10 and 20 minutes for

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the Plymouth facility and a few minutes less for Grand Rapids facility because the
office and warehouse are closer to each. The variation in times mostly depend on
the experience of the driver. The actual times may be longer due to non-work

activities such as using the restroom.

Statement No. 19. After checking out the vehicle, the Specialist will then
drive to the customers on his assigned route.

Statement No. 20. Sales Specialists have the same route assigned to them
every day. Sales Specialist Trainees have different routes, depending on need, such
taking over part of a Sales Specialist’s route who is on vacation.

Statement No. 21. Defendant provides each Specialist with an “optimized”
route listing that orders customer stops to minimize driving mileage. Specialists are
not required to follow this order and typically do not. Defendant does impose time
limits or other requirements on how Specialists chose to drive their routes.

Statement No. 22. Specialists are free to take breaks at any time while

driving on their routes. Defendant does not set a maximum time for the routes to be
completed. Most specialists take a lunch break and many take both a breakfast and
lunch break as well as other breaks.

Statement No. 23. Sales of products and sales and rentals of equipment

occur at each customer stop. These sales occur in a number of different manners.
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Statement No. 24. For a residential customer buying 5-gallon water bottles,
the customer will typically leave out a number of empty bottles, with the expectation
that the Specialist will replace that same number with full bottles. Sometimes
customers will leave notes or speak with the Specialist to state the number of bottles
to order or equipment to rent or purchase. After the Specialist has left the full bottles
or equipment, he will then record this number with the handheld device. Usually,
the handheld device will then print out two copies of an invoice, one left for the
customer and the other kept by the Specialist. Some customers who pay
electronically will not receive a printed invoice.

Statement No. 25. For customers who order coffee products, which are
typically businesses, the Specialist will go in and speak with an employee of the
business who will tell the Specialist the kind and number of products and, if
applicable, equipment being ordered. After delivering these, the Specialist will
likewise record the amounts with the handheld device, two invoices will be printed,
and the time recorded.

Statement No. 26. Customers pay for products a number of different ways.

Many pay by credit card at the end of the month that is kept on file. Others pay by
ACH direct debit. Some mail in a check. Some give a check or cash directly to the

Specialist when the products are delivered.

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Statement No. 27. At customer locations, Specialists have opportunities to
increase the revenue from products ordered by customers. These activities are
recommended and encouraged by Defendant, but not required. Increasing revenue
from sales on the route increases the Specialist’s commissions. These activities
include a) persuading the customer to purchase additional items, especially higher
margin products that earn higher commissions  (upselling) b)
suggesting/recommending additional or more frequent delivery dates, c) going to
nearby homes and businesses to solicit new customers, and d) asking existing
customers for referrals, e) working diligently to complete all of the customer stops
on the route each day, and f) providing consistent good service that results in
spontaneous referrals to new customers by current customers.

Statement No. 28. After stopping by their last customer, Specialists will
return to the facility, driving into the warehouse.

Statement No. 29. Upon arriving at the warehouse, the Specialist will meet
with a warehouse employee in Plymouth, or the manager in Grand Rapids, and count
with that person the number of empty bottles on the vehicle and make an inventory
of the unsold products. That inventory count is entered into the handheld device.
When the count is complete the vehicle is then checked in using the handheld device.

The handheld device records the time of this check in.

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Statement No. 30. Specialists typically sell about eighty percent of the
inventory they leave the facility with at the beginning of their routes and thus have
about twenty percent of that inventory remaining on their vehicles when they return.

Statement No. 31. After checking in their vehicles, the Specialists walk to

the front office of the facility. Upon arriving, they first turn in any cash or checks
they have received from customers. They then turn in copies of the invoices printed
by the handheld devices.

Statement No. 32. After turning in cash, checks and invoices, the Specialists
then synchronize their handheld devices by pressing a button on the devices, which
causes all the data of handheld devices to be wirelessly uploaded into Defendant’s
system. The Specialists then return the handheld devices to their charging stations.

Statement No. 33. After turning in the handheld devices, the Specialists
meet with a manager to review what happened on the route. This review will include
the Specialists informing the manager of any customer vacations or closures. During
this review, the Specialists fill out a “load sheet,” which is used to tell the warehouse
personnel what products and equipment to load onto the Specialists’ vehicles for the
following working day. By filling out the load sheets, the Specialists are estimating
the amount of product they are likely to sell the next time they go on their routes,

with additional amounts added to take advantage of opportunities for increased sales.

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Once the load sheet is filled out, the Specialists’ job responsibilities are complete for
the day.

Statement No. 34. During the review with the managers after completing
their routes for the day, many Specialists ask the manager for an estimate of the
amount of commissions they earned for that day, which the manager can look up on
the system.

Statement No. 35. The amount of time for work-related activities from

checking in the vehicle in warehouse to completing the load sheets while meeting
with the manager is typically 20-30 minutes in Plymouth and a few minutes shorter
in Grand Rapids, with more experienced Specialists taking less time than the
inexperienced. The actual times may be longer due to non-work activities such as
using the restroom.

DEFENDANT?’S INTERROGATORY NOS. 4, 5 AND 6

4. Identify each specific calendar week You claim to have worked
more than 40 hours during that week while employed by
Absopure during the Relevant Time Period.

5. For each week identified in response to Interrogatory No. 4,
describe the facts upon which You base that allegation,
including the total number of hours You claim to have worked
during that week, the total number of overtime hours You are
claiming for that week, how You determined those hours, and
identify any documents, communications or other evidence You
claim support Your allegations concerning the hours You
worked.

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6. For each week identified in response to Interrogatory No. 4,
identify the total amount of overtime wages (or other wages,
compensation or monies) that You claim to be owed and the
reason You claim You were not properly paid and describe all
calculation You used to come to the amount of overtime You
claim to be owed.

DEFENDANT’S STATEMENTS OF FACT

Statement No. 36. Defendant has produced lists of the clock-in times for
each Plaintiff. Attached as Exhibit B is a list of the bates ranges for those lists. For
those times when a Specialist did not clock in immediately upon arrival, a manager
typically filled in a rough estimate for when the Specialist arrived.

Statement No. 37. Defendant has provided a list of the handheld device
check-out and check-in times for each Plaintiff on a document bearing bates stamp
numbers ABS -003751-004195.

DEFENDANT’S INTERROGATORY NO. 18

18. If You claim that You are or were not exempt from the overtime
provisions of the FLSA pursuant to section 13(b)(1) of the FLSA (29
U.S.C. § 213(b)(1)) as being an employee with respect to whom the
Secretary of Transportation has power to establish qualifications,
describe with specificity all of the bases for such claim including all of
the facts, documents, and communications on which You are relying.

DEFENDANT’S STATEMENTS OF FACT
Defendant’s facts with respect to this interrogatory are contained in its

answers to Opt-In Plaintiffs’ Interrogatories No. 3 and any supplements.

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DEFENDANT’S INTERROGATORY NO. 19

19.

Identify each day that You drove a vehicle for Absopure during
the Relevant Time Period that weighed than 10,000 pounds or
less and each day that you drove a vehicle that weighed 10,001
pounds or more.

DEFENDANT’S STATEMENTS OF FACT

Statement No. 38. Produced concurrently with these Statements is a list of

the vehicles, the weights of those vehicles, and the route numbers that each Plaintiff

drove during the relevant time frame bearing bates number range ABS 003581-

003738.

DEFENDANT’S INTERROGATORY NO. 20

20.

If You denied any of Absopure’s Requests For Admission served
concurrently with these interrogatories, then, with respect to each such
denial, describe Your reasons for denial. For example, if You deny
either Absopure’s Request Nos. 5 or 6 regarding how your
compensation was calculated, describe any inaccuracy, omission, or
mischaracterization You claim is in the Request and what You claim
is an accurate, complete, and properly characterized description.

DEFENDANT’S STATEMENTS OF FACT

The Court ordered that no response is needed for requests for admission.

DEFENDANT’S INTERROGATORY NO. 21

21.

While You were employed by Absopure, did You ever complain
about any alleged violations of the FLSA to any supervisor or
manager or of any other failure to pay You what You believed You
were owed? If so, describe Your complaint, to whom You made it,
and Absopure’s response

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DEFENDANT’S STATEMENTS OF FACT

Statement No. 39. Defendant has reviewed the personnel files for Plaintiffs

and has not found records of complaints by Plaintiffs.

DEFENDANT’S INTERROGATORY NOS. 22 AND 23

22. Other than the other Plaintiffs in this action, identify all
individuals whom You believe support Your claims that You
are entitled to overtime compensation.

23. For each individual listed in response to Interrogatory No. 17,
describe Your understanding of the knowledge each person has
that supports Your claims in this case.

DEFENDANT’S STATEMENTS OF FACT

Statement No. 40. No individuals support Plaintiffs’ claims.

DEFENDANT’S INTERROGATORY NO. 24

24. Identify each personal computer, mobile phone, or other
electronic device (other than the hand-held device) capable of
sending or receiving e-mails, text messages, data, or documents
that You owned or used while You were employed by
Absopure during the Relevant Time Period, , and identify the
make and model of the devices, the operating systems, software
and applications used by the devices, and the carriers or
providers that facilitated data communication services for the
devices, and please identify whose possession each computer,
device, etc., currently resides.

DEFENDANT’S STATEMENTS OF FACT

The Court ordered that Plaintiffs do not need to respond to this interrogatory.

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JURAT
STATE OF MICHIGAN — )
)
COUNTY OF WAYNI: )

Patrick Byrne. being first duly sworn. states that he is the Accounting
Manager. of Absopure Water Company, 1.1-C, the Defendant in this action. He has
read the foregoing Statements of Relevant Facts which were prepared with the
assistance of authorized employees and with the assistance of counsel upon which
he has relied: and that the answers set forth herein, subject to inadvertent or
undiscovered errors. are based on, and therefore necessarily limited by the records
and information still in existence, presently recollected and thus far discovered in
the course of the preparation of these answers; are as relied on that consequently he
reserves the option of making changes in the answers if it appears at any time
omissions or errors have been made therein or that more accurate information is
available; and that subject to the limitations set forth herein, the said answers are

true to the best of his knowledge. information and belief.

LLL: pce,

Subscribed and sworn to before me
thisaguday of May, 2023

LM LE

tary Public, Wayne Counfy. Michigan
My Commission Expires:_4 /2 7/2028

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Dated: May 26, 2023 Respectfully Submitted,

Chena Lo Cee

Ronald G. Acho, P23913

Cummings, McClorey, Davis, & Acho PLC
17436 College Parkway

Livonia, MI 48152

T: (734) 261-2400

F: (734) 261-4510

E: racho@cmda-law.com

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CERTIFICATE OF SERVICE
Julie A. Callahan hereby certifies that on May 26, 2023, a copy of
DEFENDANT ABSOPURE WATER COMPANY, LLC’S STATEMENTS OF
RELEVANT FACTS and this Certificate of Service was served upon the following:
Michael N. Hanna, Esq.
Morgan & Morgan, P.A.

2000 Town Center, Suite 1900
Southfield, MJ 48075

mhanna@forthepeople.com
electronically (by email).

I declare that the above statements are true to the best of my information,
knowledge and belief.

/s/ Julie A. Callahan
JULIE A CALLAHAN

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EXHIBIT A

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BATES RANGES FOR PLAINTIFFS’ DRIVING RECORDS

Opt- In Plaintiff

Bates Range

Aniol 002141 — 2143, 002149 - 2155 Absopure Opt-In PLS
Confidential Docs 1
(Bates
A Armstead 002158 — 2163
D Armstead 002165 - 2166
Banks 002167 -2168
Belonga 002169 — 2170, 002177-2179
Brown 002181 — 2183, 002185-2190,
002192 — 2193, 002195
Childs 002197 — 2198, 002202-2023,
002209 - 2210
Clendennin 002211-2213, 002215-2217
Fish 002218 — 2225, 002228 — 2231,
002235 — 2236, 002240 — 2242,
002245-2246, 002250, 002254-
2257
Householder 002258 - 2261
Jacek No driving record
Jackson 002264 — 2268

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Johnson 002269 - 2287
Lammer 002291 - 2301
Newkirk 002302 - 2307
Okimoto 002308-2319
Pemberton 002320 — 2331
Perry 002332 - 2343
Phipps 002344 - 2352, 002401-2412,
2414

Redmer 002415 - 2421
Rhodes 002422 - 2427
Skonieczny 002428 - 2437
Sujkowski 002438 — 2441
Tampa 002442 — 2446
Winconek 002447 — 2451
Woldt 002452 - 2464

EXHIBIT B

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BATES RANGES FOR CHECK-IN TIME LISTS

Opt-In Plaintiff

Bates range

Aniol 2018 Check In 001287 - 1297 Absopure Opt In PLS
Nonconfidential Docs 1
(bates 1284 -1526)

Aniol 2019 Check In 001298-1308

Aniol 2020 Check In 001309 - 1319

Aniol 2021 Check In 001320 — 1330

Aniol 2022 Check In 001331 - 1341

A. Armstead 2018 Check In

001472 - 1475

D. Armstead 2018 Check In

001490-1493

Banks — 2018 Check In

001510 — 1513

Belonga 2022-2023 Check In

001527 - 1537

Absopure Opt In PLS
Nonconfidential Docs 2
(bates 1526 - 1774)

Childs 2019 Check In 001587

Childs 2020 Check In 001588 — 1598
Childs 2021 Check In 001599- 1609
Childs 2022 Check In 001610 — 1620
Childs 2023 Check In 001621 - 1624

Clendennin — 2018 Check In

001648 — 1853

Fish 2022/2023 Check In 001680 -1690

Fish — 2021/2022 Check In 001691 — 1701
Fish 2020/2021 Check In 001702 — 1712
Fish 2020 Check In 001713 - 1716

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Fish 2019 Check In

001717 — 1727

Fish 2018 Check In

001728 - 1735

Householder 2022 Check In

001736 — 1737

Jacek 2018 Check In

001748 — 1749

Jackson 2018-2019 Check In

001760 -17662

Johnson 2022 — 1/30/2023
Check In

001785 - 1795

Absopure Opt In PLS
Nonconfidential Docs 3
(bates 1775 - 1991 )

Johnson 2023 Check In 001796 - 1798
Lammer 2019 Check In 001799 - 1805
Newkirk 2022 Check In 001826 — 1831

Okimoto 2022 — 2023 Check In

001844 - 1854

Okimoto 2021 -2022 Check In

001855 - 1861

Pemberton 2022 Check In 001862 — 1865
Perry 2018 Check In 001878 — 1885
Phipps 2018 Check In 001898 — 1908
Phipps 2019 Check In 001909 — 1919
Phipps 2020 Check In 001920 — 1930
Phipps 2021 Check In 001931 — 1937
Redmer 2022 Check In 001954 - 1958

Rhodes 2022 — 2023 Check IN

001983 — 1991

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Skonieczny 2022-2023 Check | 002005 — 2011 Absopure Opt In PLS
In Nonconfidential Docs 4
(bates 1992 - 2119)

Sujkowski 2022 -2023 Check | 002012 — 2023

In

Sujkowski 2023 Check In 002024
Tampa 2020 Check In 002037 — 2051
Tampa 2021 Check In 002052 — 2063

Winconek 2022-2023 Check In | 002079 — 2089
Winconek 2022 Check In 002090 — 2094

Woldt 2022-2023 Check IN 002107 - 2108

